     Case 19-18467           Doc 36      Filed 11/07/19 Entered 11/07/19 14:12:57                      Desc Main
                                           Document     Page 1 of 8


                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

In re:                                               )     No. 19-18467
                                                     )
AMERICAN PAIN SOCIETY,                               )     Chapter 7
                                                     )
                             Debtor.                 )     Honorable Deborah Thorne
                                                     )
                                                     )
                                                     )
                                                     )


                ORDER APPROVINGAUCTION SALE, BIDDING PROCEDURES
                       AND SCHEDULING FINAL SALE HEARING


            This matter comes before the Court on the Motion of Michael K. Desmond, not

individually but solely in his capacity as Chapter 7 Trustee (“Trustee”) of the bankruptcy estate

of American Pain Society (“the Debtor”), by his attorneys and pursuant to 11 U.S.C. 363 and

Rules 2002 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

moves this Court for entry of an order approving an auction sale the Estate’s right title and

interest in The Journal of Pain (“Motion”), approving bid procedures and scheduling a final

hearing on the Auction Sale, due notice having been given and the Count being fully advised:


IT IS HEREBY ORDERED:1


        The Trustee’s Motion for authority to conduct an Auction Sale of the Estate’s right title

            and interest in The Journal of Pain is granted.

        A Final Hearing for approval of the Sale to the Successful Bidder is scheduled for

            December 17, 2019 at :30 a.m.



1
    CapitalizedtermsnototherwisedefinedhereinshallhavethemeaningsetforthintheMotion.
Case 19-18467      Doc 36       Filed 11/07/19 Entered 11/07/19 14:12:57          Desc Main
                                  Document     Page 2 of 8


 3. The Court approves the following bid procedures as set forth in the Motion:


                                    BID PROCEDURES

 4. Assets to be sold: The Trustee is offering for sale the Estate’s right, title and interest in

    The Journal of Pain, and any associated copyright and trademark rights to The Journal of

    Pain held by the Estate (“Purchased Assets”).

 5. Excluded Assets: All other assets of the Estate are specifically excluded. Additionally,

    the Trustee does not intend, and is not offering, to assume and assign the rights to the

    Publishing Agreement with Elsevier in connection with the sale of The Journal of Pain.

 6. Deadline for Bid Submissions. Bids shall be due on or before December 9, 2019 at 5:00

    p.m. (Central Time) (the “Bid Deadline”).

 7. Required Submissions for Bidding.        In order to submit a bid, each person or entity

    (“Potential Bidder”) must deliver to the Trustee via overnight mail or courier to Michael

    K. Desmond, Figliulo & Silverman, P.C., 10 S. LaSalle St., Suite 3600, Chicago, IL

    60603 the following on or before the bid deadline:

        a. An executed Purchase Agreement (hard copy and electronic Microsoft Word

            document ) for the purchase of The Journal of Pain, with such Purchase

            Agreement substantially in the form attached to the Motion as Exhibit 1, and an

            electronic markup of the Potential Bidder’s Purchase Agreement showing any and

            all amendments and modifications from the form of Purchase Agreement,

            including, but not limited to, purchase price and contact information of the

            Potential Bidder;




                                              2
Case 19-18467     Doc 36     Filed 11/07/19 Entered 11/07/19 14:12:57           Desc Main
                               Document     Page 3 of 8


      b.    the Potential Bidder’s Purchase Agreement provides that the Potential Bidder

            is prepared to Consummate the transaction contemplated by the Purchase

            Agreement no later than the Closing Date;

      c.    the Potential Bidder’s deposit in the form of a cashier’s check, or otherwise

            immediately available funds in the amount of 10.0% of the Purchase Price

            (“Good Faith Deposit”) set forth in the Purchase Agreement payable to the

            Trustee, to be submitted along with the bid (funds to be delivered to Trustee);

      d.    written evidence satisfactory to the Trustee of the Potential Bidder’s authority

            or approval of the contemplated transaction and an affirmative statement that

            no other consents are required;

      e.        financial statements (or other financial information acceptable to the Trustee

                in his sole and absolute discretion) showing that the Potential Bidder has the

                financial ability to close on the Purchased Assets by the Closing Date;

      f.        a signed statement indicating that the Purchase Agreement is irrevocable

                until (i) the Auction has taken place and the Potential Bidder is not approved

                as the Successful Bidder or Back-up Bidder whether due to the Potential

                Bidder being not selected by the Trustee in his sole discretion or for any

                other reason whatsoever, in which case the Potential Bidder’s Good Faith

                Deposit will be refunded unless otherwise forfeited pursuant to paragraph 13

                below; or (ii) one business day following the closing of the Sale, in the event

                the Potential Bidder is selected as the Successful Bidder or Back-up Bidder,

                in which case, the Potential Bidder’s Good Faith Deposit shall not be




                                            3
Case 19-18467      Doc 36       Filed 11/07/19 Entered 11/07/19 14:12:57        Desc Main
                                  Document     Page 4 of 8


                 refunded until the Potential Bidder or another bidder has consummated the

                 transaction;

        g.       a signed statement acknowledging the prohibition against collusive bidding;

        h.       The Trustee will not consider any offer that requires payment of a

                 Termination Fee or other “stalking horse” protections or requires due

                 diligence or financing contingencies of any kind.

 8. Determination of Qualified Bids.       A bid that complies with and is accompanied by the

    information set forth in Paragraph 7 above, as determined in the sole discretion of the

    Trustee, will be deemed a “Qualified Bid.” A “Qualified Bidder” is a Potential Bidder

    that submits a Qualified Bid and, in the Trustee’s sole discretion is determined to

    demonstrate the financial capability to consummate the purchase of the Purchased Assets

    that is the subject of its Qualified Bid.

 9. Impact of Bid Rejection.       If the Trustee determines that a Potential Bidder is not a

    Qualified Bidder, the Trustee shall return the Potential Bidder’s Good Faith Deposit to

    the Potential Bidder promptly upon such determination. At the Auction, only Qualified

    Bidders who have submitted Qualified Bids for the Purchased Assets shall have the right

    to bid on the Purchased Assets. If no Qualified Bids are submitted to the Trustee prior to

    the Bid Deadline, the Auction shall be canceled.

 10. Timing and Location of Auction.        The Auction shall be conducted on December 12,

    2019 (the “Auction Date”) at 11:00 a.m. CDT. The Auction will be held at the offices

    of Figliulo & Silverman, P.C., 10 S. LaSalle St., Suite 3600, Chicago, Illinois 60603, or

    such other location designed by Trustee in advance of the Bid Deadline. In addition to

    the Trustee and his counsel and other advisors, one representative from each of the



                                                4
Case 19-18467     Doc 36       Filed 11/07/19 Entered 11/07/19 14:12:57        Desc Main
                                 Document     Page 5 of 8


    Qualified Bidders that submitted a Qualified Bid, along with their respective

    professionals and advisors, will be permitted to attend the Auction. In the event of a

    change in time or place of the Auction, the Trustee shall take commercially reasonable

    efforts to notify all Qualified Bidders who have timely submitted Qualified Bids on or

    before the Bid Deadline.

 11. Bid Increments.   At the Auction, Qualified Bidders may increase their Qualified Bids in

    minimum bid increments of $10,000.00.

 12. Procedures for the Auction.        The Auction shall be conducted in accordance with

    commercially reasonable procedures as shall be established by Trustee and his legal

    counsel. The Trustee reserves his right to modify the Auction procedures at any time in

    his sole and absolute discretion.

 13. Determination of Successful Bid.     Upon completion of the auction, the Trustee, in his

    sole discretion shall select the Qualified Bid that will maximize the value of the

    Purchased Assets and is in the best interest of the bankruptcy Estate (the “Successful

    Bid”). The Good Faith Deposit, as the case may be, for any Qualified Bidder shall be

    non-refundable until the Closing.       If the party submitting the successful Bid (the

    “Successful Bidder”) fails to close the sale (other than as a result of the Trustee’s

    breach), such party’s Good Faith Deposit hall be retained by the Trustee as the Estate’s

    sole and exclusive damages resulting from such failure to close.

 14. Right to Select Back-Up Bidder(s). At the conclusion of the Auction, the Trustee may

    designate a “Back-Up Bidder” or multiple Back-Up Bidders (each a “Back-Up Bidder”),

    if necessary, provided that each Back-Up Bidder is willing to purchase the Purchased

    Assets for at least the Back-Up Bidder’s last bid at the Auction. If, for any reason, the



                                              5
 Case 19-18467        Doc 36      Filed 11/07/19 Entered 11/07/19 14:12:57          Desc Main
                                    Document     Page 6 of 8


      party that submits the Successful Bid fails to consummate the purchase of the Purchased

      Assets:

         a.     the Back-Up Bidder designated by Trustee shall be deemed to have submitted the

                highest and best bid, and shall be deemed the Successful Bid, and the Successful

                Bidder; and

         b.     Trustee shall have the right to effectuate the sale of the Purchased Assets to the

                Back-Up Bidder as soon as is commercially reasonable. Such Back-Up Bidder’s

                Good Faith Deposit shall be held in escrow until the closing of the transaction

                with the Successful Bidder.

    Termination Fee.       The Trustee will not consider any offer that requires payment of a

      Termination Fee, and will not agree to pay a Termination Fee.

    Bankruptcy Court Approval. The Auction Sale and the Trustee’s agreement sell The

      Journal of Pain are expressly conditioned on approval by this Court.

    Final Hearing on Auction Sale A Final Hearing to approve the Auction Sale will be held

      on December 17, 2019 at :30 a.m.

    The Trustee shall serve a copy of the Notice of Sale Hearing to all creditors. The form of

      the Notice of Sale Hearing attached to the Motion as Exhibit 2 is approved.

    Objections to the Sale, if any shall be filed on or before December 16, 2019, and shall be

      served on the Trustee, his counsel and all other parties requesting notice.

    Notice of this motion is deemed sufficient.




Dated: November , 2019                               ____________________________
                                                      Honorable Deborah Thorne
                                                      Bankruptcy Judge

                                                 6
 Case 19-18467      Doc 36   Filed 11/07/19 Entered 11/07/19 14:12:57   Desc Main
                               Document     Page 7 of 8




Prepared by:


Michael K. Desmond (#6208809)
Justin M. Herzog (#6324047)
FIGLIULO & SILVERMAN, P.C.
10 S. LaSalle Street, Suite 3600
Chicago, Illinois 60603
Tel: (312) 251-4600
Fax: (312) 251-4610




                                         7
Case 19-18467   Doc 36   Filed 11/07/19 Entered 11/07/19 14:12:57   Desc Main
                           Document     Page 8 of 8
